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                  UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re: TIMOTHY HAYES,                           :          Case No. 16-11983REF
           Debtor                               :          Chapter 7



315 BOWERY HOLDINGS,     LLC and                :          Adv. No. 16-186
        CBGB FESTIVAL, LLC.,                    °




            Plaintiffs
                    vs.
        TIMOTHY HAYES,

                                     ORDER
              AND NOW, this     12 day   of January,   2018, Plaintiffs are directed to

ﬁle Status Reports relating to the procedural status of the state court litigation, the

ﬁrst of which Status Reports shall be ﬁled on or before January 19, 2018, and the

succeeding Status Reports shall be ﬁled every three months thereafter on the 15th

day   of each such month, beginning April    15, 2018.


                                         BY THE COURT
                                                       4




                                         United States Bankruptcy Judge
